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                           THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   NORFOLK DIVISION


R.M.S. TITANIC, INC.,
Successor in interest to Titanic
Ventures, limited partnership,

          Plaintiff,

v.                                                     Civil Action No.: 2:93cv902

The Wrecked and Abandoned
Vessel, . . . believed to be
The RMS TITANIC, in rem,

          Defendant.


     REPLY OF THE TRUSTEES OF THE NATIONAL MARITIME MUSEUM TO THE
            RESPONSE AND OPPOSITION TO MOTION TO INTERVENE

          COMES NOW the Trustees of the National Maritime Museum (“NMM”), by and

through their undersigned counsel, replying to the United States’ Response to Motions To

Intervene (Docket No. 484) and Opposition of RMST to the Trustees of the National Maritime

Museum’s Motion to Intervene (Docket No. 485).1 NMM replies as follows:

                                   PRELIMINARY STATEMENT

          NMM, as a preeminent maritime museum and the leading custodian of the United

Kingdom’s maritime heritage, and as a potential acquirer of the interests of RMS Titanic, Inc.

(“RMST”) in the artifacts recovered from the wreck of the R.M.S. Titanic (the “Artifact

Collection”), has a significant interest in the proceedings before this Court. In fact, NMM’s



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     Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in
     the Memorandum in Support of the Trustees of the National Maritime Museum Motion to
     Intervene (Docket No. 475).
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interest extends as far back as 1994, when it founded an International Advisory Committee to

“safeguard the future of the Titanic wreck site and objects raised from it and to ensure that they

are conserved to the highest standards and saved for future generations in a Titanic Memorial

Museum.” R.M.S. Titanic, Inc. v. Wrecked & Abandoned Vessel, 323 F. Supp. 2d 724, 728 (E.D.

Va. 2004) (quoting the affidavit of George Tulloch, the managing partner of Titanic Ventures

Limited Partnership, predecessor to RMST). Further to this interest, NMM, with the Official

Committee of Unsecured Creditors (the “Creditors’ Committee”), the Board of Trustees of the

National Museums and Galleries of Northern Ireland (“NMNI”), and Running Subway

Productions, LLC, filed a chapter 11 plan (the “Museum Plan”) and related disclosure statement

(the “Museum Disclosure Statement”) in the Debtors’ bankruptcy proceedings proposing to sell

RMST’s interest in the Artifact Collection to NMM and NMNI for $19.2 million. The sale

contemplated by the Museum Plan would return the Artifact Collection to its historic home in the

United Kingdom, to be held in perpetual public ownership for the benefit of the public interest

and to be kept together, intact and available for posterity for public display and exhibition,

historical review, scientific and scholarly research, and educational purposes.

       Support for the Museum Plan was and is broad; its supporters include Dr. Robert Ballard,

James Cameron, the National Geographic Society, and the United Kingdom government. In a

little more than a month, NMM obtained committed funds of approximately $10.2 million (more

than half of the $19.2 million purchase price), and NMM, with the assistance of Titanic Belfast

Ltd., was on pace to obtain the remainder of the purchase price over the following 30 to 45 days

and in advance of the likely confirmation hearing. On August 30, 2018, however, at a hearing

before the Bankruptcy Court, RMST and the Stalking Horse Purchaser suddenly announced that

they had reached a last-minute deal with 417 Fifth Avenue, the Debtors’ largest unsecured




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creditor by a large measure, which required 417 Fifth Avenue to oppose the Museum Disclosure

Statement and vote against the Museum Plan; in exchange, the Stalking Horse Purchaser

increased its bid for substantially all of the Debtors’ assets, including the stock of RMST, from

$17.5 million to $19.5 million; i.e., $300,000 more than the purchase price under the Museum

Plan. A negative vote by 417 Fifth Avenue alone may well block the success of the Museum

Plan (even if the NMM were to amend the Museum Plan to increase the purchase price).

Although not mentioned in the Status Report filed by the United States on September 6, 2018,

the Debtors indicated that the Stalking Horse Purchaser’s agreement to increase the purchase

price was conditioned upon the Bankruptcy Court approving the revised bidding procedures

associated with its sale motion that day. The Bankruptcy Court did not approve the bidding

procedures at the hearing and the issue remains sub judice.

       Notwithstanding the foregoing, NMM remains committed to its mission—to eliminate

forever the risk that the Artifact Collection will be sold off in pieces, especially since such sales

have been alleged at various times by various parties (including the Debtors, the Equity

Committee, and members of the Stalking Horse Purchaser) to be consistent with the Covenants

and Conditions. As a result, we respectfully request that this Court hold in abeyance its decision

with respect to the Motion to Intervene in order to see how the Bankruptcy Court rules with

respect to the Museum Disclosure Statement, whether the conditions to the Stalking Horse

Purchaser’s revised bid (and the related commitment of 417 Fifth Avenue to oppose the Museum

Disclosure Statement) are satisfied, and whether the bid of the Stalking Horse Purchaser (or any

other prevailing bidder at the auction) is approved by the Bankruptcy Court and this Court.

                                         BACKGROUND

       On June 21, 2016, the Debtors filed a motion (the “First Sale Motion”) requesting that the

Bankruptcy Court authorize a sale of “a narrow subset of artifacts from the French Collection to


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pay the creditors in full, return all equity positions to the Debtors’ shareholders, and possibly

fund some or all of the Titanic reserve account.” (Bankruptcy Docket No. 28 at ¶ 27.) In the

motion, the Debtors stated regarding the Artifacts:

                RMST recognizes and appreciates their historic value, and believes
                that the artifacts should remain together as a collection, made
                available to future generations. Recognizing, however, the
                extraordinary monetary value of the individual artifacts, and the
                Company’s current circumstances, RMST believes a sale in
                bankruptcy of a very specific, limited number of artifacts from the
                French Collection serves the best interests of the Debtors’
                creditors, their shareholders, and both artifact collections.

(Id. at ¶ 21.) Because the proposed sale would leave the American Artifacts and the “vast

majority” of the French Artifacts intact, the Debtors alleged that the sale would “faciliat[e] the

Debtors’ ongoing obligations under the Covenants [and Conditions].” (Id. at ¶ 24.)

         On July 6, 2016, the United States, on behalf of the Department of Commerce, objected

to the First Sale Motion, arguing, among other things, that the First Sale Motion was really a

request for an advisory opinion from the Bankruptcy Court “that RMST may sell unidentified

artifacts it holds in trust to fund not only its own bankruptcy case but also the bankruptcy cases

of the co-debtors.”2 (Bankruptcy Docket No. 73 at 2.) The Bankruptcy Court agreed and, on

July 22, 2016, the Bankruptcy Court denied the First Sale Motion with leave to re-file if and

when RMST obtains a judgment in an adversary proceeding making clear the interests of the




2
    The RMS Titanic, Inc. Declaration of Trust and Establishment of Reserve Account dated
    November 9, 2011, states that RMST “hereby declares that it holds in trust the TITANIC
    Artifacts (as defined in the Covenants and Conditions), together with the other properties
    received pursuant to the Court award from time to time . . . subject to the Covenants and
    Conditions.” The TITANIC Artifacts, as defined in the Covenants and Conditions, include
    both the French Artifacts and the American Artifacts.


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Republic of France in the French Artifacts.3 (Bankruptcy Docket No. 102.) On August 17,

2016, RMST filed a complaint in an adversary proceeding (the “French Artifacts Proceeding”)

seeking to quiet title to the French Artifacts, RMS Titanic, Inc. v. The French Republic, Case No.

3:16-ap-00183. See French Artifacts Proceeding Docket No. 1. On September 29, 2017,

because the Republic of France did not appear in the proceeding, the Bankruptcy Court entered a

default judgment (the “Default Judgment”) in favor of RMST, holding that the Republic of

France has no interest in the French Artifacts. See French Artifacts Proceeding Docket No. 67.

         On November 14, 2017, the Debtors filed a motion (the “Second Sale Motion”) seeking

to sell substantially all of the assets of the Debtors, including “the common shares in RMST or

the entire artifact collection held by RMST.” (Bankruptcy Docket No. 811 at ¶ 3.) An ad hoc

group of equityholders comprised of funds managed by affiliates of Apollo Global Management,

LLC (“Apollo”) and Alta Fundamental Advisors LLC (“Alta”)—each members of the Stalking

Horse Purchaser—objected to the Second Sale Motion (the “Ad Hoc Equity Objection”).

(Bankruptcy Docket No. 850.) In the objection, Apollo and Alta stated that the “game changing”

Default Judgment “confirm[ed], once and for all, that the Debtors have clear title to convey the

French Artifacts.” (Id. at ¶ 3). Apollo and Alta, citing to a $200 million appraisal of the Artifact



3
    On October 18, 1993, the French Ministry for Equipment, Transportation and Tourism
    confirmed in a letter to Titanic Ventures Limited Partnership (“Titanic Ventures”), predecessor
    to RMST, that Titanic Ventures:
                 agreed to make use of [the French Artifacts] in conformity with the
                 respect due to the memory of their initial owners, and to not carry
                 out any commercial transaction concerning such objects nor any
                 sale of any one of them nor any transaction entailing their
                 dispersion, if not for the purposes of exhibition.

    RMST’s promise to keep the artifacts together was one of the factors this Court considered
    when it granted salvor-in-possession status to RMST in 1994. See R.M.S. Titanic, Inc. v.
    Wrecked & Abandoned Vessel, 924 F. Supp. 714, 718 n.10 (E.D. Va. 1996).


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Collection, opposed the Debtors’ proposed expedited sale of the entire Artifact Collection

because, among other things:

                 a single sale of all the Debtors’ assets is unlikely to achieve
                 proceeds anywhere near the Debtors’ appraised values . . . . Indeed,
                 the proposed sale will not even be marketed to collectors and
                 cannot, therefore, reach the appropriate market need for unique
                 artifacts of this kind.

(Id. at ¶¶ 2, 26). The Debtors subsequently withdrew the Second Sale Motion. See Bankruptcy

Court Docket No. 863.

         On June 1, 2018, the Equity Committee filed a plan and accompanying disclosure

statement contemplating the marketing and sale of the American Artifacts to a “qualified

institution” and the marketing and auction of certain French Artifacts separately at Guernsey’s

auction house.

         On June 15, 2018, the Debtors filed a third sale motion (the “Third Sale Motion”) seeking

to sell substantially all of the Debtors’ assets, including the stock of RMST, to the Stalking Horse

Purchaser for $17.5 million, subject to higher and better offers submitted before the bid deadline

set forth in the Third Sale Motion.4 (Bankruptcy Docket No. 1055.) The Debtors attached a

proposed Asset Purchase Agreement (the “Stalking Horse APA”) as Exhibit B to the Third Sale

Motion. Importantly, the Stalking Horse APA does not affirmatively require the Stalking Horse

Purchaser to maintain the French Artifacts and the American Artifacts as an integrated whole;


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    The Creditors’ Committee has represented that it does not believe that any other potential
    purchasers will submit a timely “Qualified Bid” under the Debtors’ bidding procedures and
    that the Stalking Horse Purchaser, which is largely comprised of current equityholders of
    Premier Exhibitions, Inc., will prevail at the auction. See Museum Disclosure Statement
    (Bankruptcy Docket No. 117), at 17. Additionally, in the Equity Committee’s response in
    opposition to the Debtors’ Third Sale Motion, the Equity Committee alleges that the “Debtors’
    bid procedures are designed to chill bidding, deter outsiders from participating in the auction
    process, and secure a sale of the Debtors’ assets to their preferred buyer”—the Stalking Horse
    Purchaser. (Bankruptcy Docket No. 1170 at 2.)


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rather, the Stalking Horse APA merely requires that the winning bidder assume the Debtors’

obligations under the Covenants and Conditions. See Stalking Horse APA § 1.1(c)(iii).

       On June 29, 2018, RMST filed a motion with this Court requesting entry of an order

approving the Stalking Horse APA and authorizing the sale of the stock of RMST to the Stalking

Horse Purchaser or such other prevailing qualified bidder as determined by the Bankruptcy

Court. (Docket No. 448.) On July 13, 2018, the United States, on behalf of the National

Oceanic and Atmospheric Administration (“NOAA”), filed a response to RMST’s motion in

which it restated the criteria it expects to consider to evaluate any proposal involving the Artifact

Collection submitted to this Court for approval. (Docket No. 454.) Among other criteria, the

United States stated that it will require “full access” to the French Artifacts and that it will take

into account a proposal’s “treatment, handling and disposition” of the French Artifacts. (Id. at

6.) Although the United States acknowledged that this Court lacks constructive in rem

jurisdiction over the French Artifacts, the United States recognized that “the public interest that

NOAA is charged by the Court with protecting encompasses the Artifact Collections as a whole,

meaning ‘the total assemblage of the French Titanic Artifact Collection and the Subject Titanic

Artifact Collection.’” (Id. (citing Covenants and Conditions §§ II(H) and II(K)).)

       On July 29, 2018, the Debtors filed a reply asserting the United States’ position of

requiring full access to the French Artifacts and taking into account the treatment, handling, and

disposition of the French Artifacts in evaluating a proposed transaction “is overreaching, outside

its scope, and ultra vires.” (Docket No. 455 at 3.) To that end, the Debtors argued:

               Consistent with [RMS Titanic, Inc. v. Wrecked and Abandoned
               Vessel, ____ (4th Cir. 2006)], the Covenants and Conditions
               themselves, and the intent of RMST when it drafted the Covenants
               and Conditions, the limited language in the Covenants and
               Conditions which relates the “Artifact Collections” (ie. both the




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                STAC and the 1987 Artifacts”) is merely precatory, and
                aspirational . . . .

                Consistent with § I.E . . . the public interest only extends to the
                STAC and not to the French Artifacts. Moreover, while § VII.C.1
                seeks to permit NOAA to inspect both the STAC and the French
                Artifacts, such inspection is designed only to monitor, “the
                conservation, curation, documentation, and other activities in
                relation to the STAC.” (Emphasis added). Because RMST owns
                the French Artifacts outright, and because this Court does not have
                subject matter jurisdiction over them, NOAA’s oversight role
                under the Covenants and Conditions does not extend to the care
                and treatment of the French Artifacts.

(Id. at 2-3.)

        Additionally, at the hearing on August 30, representatives of Stalking Horse Purchaser

members Alta and PacBridge Capital Partners (HK) Ltd. (“PacBridge”) testified that the

members of the Stalking Horse Purchase have not made any decisions about whether the

Stalking Horse Purchaser will liquidate the French Artifacts or how the business will otherwise

operate and monetize the Artifact Collection, and each admitted that liquidating the French

Artifacts was possible. On cross-examination by the Equity Committee, Alta managing partner

Mr. Gilbert Li testified:

                Q And has the stalking horse group committed to keeping those
                collections together in connection with purchase of its assets?

                A We are only at the stage of negotiating and finishing completing
                the Asset Purchase Agreement. We have not even gone towards
                that much of a business plan.

                Q Have you thought about selling the French artifacts off to
                achieve money or revenues if you’re the successful purchaser?

                A I have not gone to that point.

                Q Is it possible that that’s what you would do?

                A It’s possible I won’t, either. So, yes, on both sides.




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Exhibit A, Transcript of Proceedings (Bankruptcy Docket No. 1196), at 121 (Bankr. M.D. Fl.

Aug. 30, 2018). Mr. Giovanni Wong, a representative of PacBridge, also on cross-examination

by the Equity Committee, testified:

               Q And are you, as part of the stalking horse group, willing to
               commit to keep those collections together infinitum?

               A I don’t think -- just like Mr. Li has said, I don’t think we have
               extensive discussions – enough extensive discussion internally to
               make that determination.

               Q So it’s possible that you could vote in favor of splitting those up
               and trying to sell those artifacts in the future.

               A Everything is possible.

(Id. at 126.) A transcript of the August 30 hearing in the Bankruptcy Court is attached hereto as

Exhibit A.

                                           ARGUMENT

       NMM, in its capacity both as a potential purchaser of RMST’s interests in the Artifact

Collection and as the leading custodian of the United Kingdom’s maritime heritage, has a

significant interest in the proceedings before this Court. Through the Museum Plan, NMM seeks

to simultaneously provide significant recoveries for RMST’s creditors and to return the Artifact

Collection to its historic home in the United Kingdom to be held in perpetual public ownership

for the benefit of the public interest and kept together, intact and available for posterity. At this

time, however, solicitation of the Museum Plan in the Bankruptcy Court may be futile because

the Debtors’ largest unsecured creditor, 417 Fifth Avenue, has entered into a verbal agreement

with the Stalking Horse Purchaser requiring it to vote against the Museum Plan, and NMM is

unable to bid in the auction due to institutional limitations (NMM, being a national museum

whose bid must be funded by government sources and private donors, cannot, for example,

provide a non-refundable deposit, as required by the Debtors’ bidding procedures). However,


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given the contingencies associated with the Stalking Horse Purchaser’s bid (and likely any other

prevailing bid at an auction), including the need for approval by this Court, it is possible that

NMM, through the Museum Plan or otherwise, will be afforded the opportunity to acquire

RMST’s interests in the Artifact Collection and, as a result, need to intervene in this proceeding

quickly.

         NMM’s motivations for purchasing RMST’s interests in the Artifact Collection are non-

pecuniary. Dating as far back as 1994 with the establishment of the International Advisory

Committee, NMM has been dutifully committed to safeguarding the R.M.S. Titanic wreck site

and the Artifact Collection. The $10.2 million raised to date is a testament to that commitment.

If NMM is able to acquire the Artifact Collection, the entire collection would stay together in

perpetuity.

         NMM’s interest in acquiring the Artifact Collection, ultimately, is an interest in

preserving an important part of the United Kingdom’s maritime heritage. As a leader in the

curation and conservation of marine archeology, NMM is deeply concerned that, if a sale to a

private party is consummated, the French Artifacts, in whole or in part, may one day disappear

from the public view, be damaged beyond repair, or be lost to the world. As discussed above,

the Debtors, Apollo, and Alta interpret the Covenants and Conditions as allowing for the

liquidation of the French Artifacts, and the Stalking Horse Purchaser to date has been unwilling

to formally commit to maintaining the French Artifacts and the American Artifacts as an

integrated whole.5 See Ad Hoc Equity Objection at ¶¶ 2-5; First Sale Motion at ¶ 24. The



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    At the July 25, 2018 status conference at the Bankruptcy Court, counsel to the Equity
    Committee proposed that a trust be imposed upon the French Artifacts for the benefit of the
    Debtors’ estates if the Stalking Horse Purchaser ultimately acquires the stock of RMST. See
    Transcript of Proceedings (Bankruptcy Docket No. 1143), at 50-51 (Bankr. M.D. Fl. Jul. 25,
    2018). The purpose of the trust would be to eliminate any economic incentive of the Stalking


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Stalking Horse APA does not expressly require the Stalking Horse Purchaser to maintain the

French Artifacts and the American Artifacts as an integrated whole. Rather, as discussed above,

the Stalking Horse APA only requires that the winning bidder assume the Debtors’ obligations

under the Covenants and Conditions. Further, at the August 30, 2018 hearing in the Bankruptcy

Court, representatives of Alta and PacBridge, when asked if the members of the Stalking Horse

Purchaser intend to liquidate certain French Artifacts, each testified that the members of the

Stalking Horse Purchaser have not thought about what they plan to do with RMST or the Artifact

Collection and called a sale of the French Artifacts “possible.” See August 30 Transcript at 121,

126.

       The Museum Plan stands in contrast to the Sale Motion in that NMM is willing to

commit to keeping the French Artifacts and the American Artifacts together as an integrated

whole in perpetuity. At present, NMM has sufficient funds to set forth a viable bid for the

Artifact Collection and remains committed and willing to acquire such interests if given the

opportunity. For these reasons, although NMM cannot at present solicit on the Museum Plan or,

for institutional reasons well known to the Debtors, participate in the auction, NMM respectfully

requests that this Court hold in abatement its decision with respect to the Motion to Intervene.

NMM submits that such relief is in the best interests of the Debtors’ estates and furthers the

public interest in the historical, archeological, scientific, and cultural aspects of the R.M.S.

Titanic wreck and its artifacts.




  Horse Purchaser to liquidate the French Artifacts by requiring that the proceeds of any such
  liquidation be paid to the Debtors’ estates instead of the Stalking Horse Purchaser. Counsel to
  Apollo and Alta rejected the proposal. See id. at 60.


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                                 RESERVATION OF RIGHTS

       NMM reserves the right to move to intervene in the above-captioned action pursuant to

Fed. R. Civ. P. 24 on grounds other than the grounds stated in the Motion to Intervene.

                                         CONCLUSION

       For the foregoing reasons, it is respectfully submitted that the Motion to Intervene should

be held in abeyance until further order of this Court.




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TRUSTEES OF THE NATIONAL MARITIME MUSEUM

  Dated:   September 6, 2018               Respectfully Submitted,

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                              CERTIFICATE OF SERVICE

The undersigned hereby certifies that the foregoing pleading was electronically filed with the
Court’s ECF system causing ECF notification to be sent to all counsel of record.



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